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 Terry E. Welch (5819) (twelch@parrbrown.com)
 Bentley J. Tolk (6665) (btolk@parrbrown.com)
 Rodger M. Burge (8582) (rburge@parrbrown.com)
 PARR BROWN GEE & LOVELESS
 101 South 200 East, Suite 700
 Salt Lake City, Utah 84111
 Telephone: (801) 532-7840
 Facsimile: (801) 532-7750

 Attorneys for Defendants Kevin Long
 and Millcreek Commercial Properties, LLC

                        IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  KATE GRANT and KARMANN KASTEN,                          MOTION TO WITHDRAW AS
  LLC,                                                    COUNSEL FOR DEFENDANT
                                                          MILLCREEK COMMERCIAL
                 Plaintiffs,                                  PROPERTIES, LLC
  vs.

  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;
                                                         Case No: 2:23-cv-00936-AMA-CMR
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE
                                                            Judge Ann Marie McIff Allen
  MCDOUGAL; and MARY STREET,

                Defendants.                              Magistrate Judge Cecilia M. Romero


        Pursuant to DUCivR 83-1.4, Terry E. Welch, Bentley J. Tolk and Rodger M. Burge of the

 law firm Parr Brown Gee and Loveless hereby individually and collectively move the Court for

 leave for each of them to withdraw as counsel for Defendant Millcreek Commercial Properties,

 LLC (“Millcreek”) (but not for Defendant Kevin Long) in the above-captioned action. Withdrawal

 is necessary because Millcreek has ceased operations.

        Millcreek’s last-known contact information is as follows:
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          Millcreek Commercial, LLC
          1064 S. North County Blvd., Suite 350
          Pleasant Grove, UT 84062
          kevin@millcreekcommercial.com
          (385) 248-0613

          Millcreek consents to the withdrawal.

          There are no scheduled hearings. On January 9, 2025, Plaintiffs filed a Short Form

 Discovery Motion. Kevin Long and Millcreek on January 16, 2025 filed a Response in Opposition

 to that Motion, and the Short Motion Discovery Motion is pending. The fact discovery cutoff in

 this case is March 11, 2025; the expert discovery cutoff is June 25, 2025; and the dispositive

 motion deadline is July 11, 2025.

          The undersigned attorneys hereby certify that this Motion is being filed with the Court and

 thereby served on all parties, and that a copy of this Motion is also concurrently being served on

 Millcreek by email and by certified mail via the U.S. Postal Service at the addresses listed above.

          A copy of a proposed order is attached hereto as Exhibit A.

           DATED this 22nd day of January, 2025.

                                               PARR BROWN GEE & LOVELESS

                                               By: /s/ Terry E. Welch
                                                  Terry E. Welch

                                               By: /s/ Bentley J. Tolk
                                                  Bentley J. Tolk

                                               By: /s/ Rodger M. Burge
                                                  Rodger M. Burge

                                               Attorneys for Kevin Long and Millcreek
                                               Commercial Properties, LLC




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 22nd day of January, 2025, I caused to be served a true

 and correct copy of the foregoing MOTION TO WITHDRAW AS COUNSEL FOR

 DEFENDANT MILLCREEK COMMERCIAL PROPERTIES, LLC via the CM/ECF

 system, which automatically provided notice to all counsel of record.


                                                                    /s/ Bentley J. Tolk




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